               Case 2:24-cv-00043-JRG-RSP Document 1-2 Filed 01/24/24 Page 1 of 54 PageID #: 21

Exhibit B to the Complaint




                             U.S. Patent No. 9,300,723 v. Activision Publishing, Inc.
                                              Claims 22, 24, 29, 30.




                                                                                                  1
                Case 2:24-cv-00043-JRG-RSP Document 1-2 Filed 01/24/24 Page 2 of 54 PageID #: 22

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   1. Claim Chart
      Claim                                                             Analysis
 [22.P]        A    Activision Publishing, Inc. (“Company”) performs and/or induces others to perform a method of transferring a media
 method        of   file from a wireless mobile device to a media system over a communication network, the media system including a
 transferring a     security measure.
 media file from
 a wireless         This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 mobile device
 to a media         For example, the Company provides Call of Duty: Modern Warfare III, an internet-based game featuring Voice Chat
 system over a      in which the player and his friends communicate with each other. Call of Duty: Modern Warfare III is accessible on
 communication      both PC and laptop, with the game installed on both the player's PC or laptop (“media system”) and his friend’s PC or
 network, the       laptop (“wireless mobile device”). The player’s PC or laptop receives voice chats (“media file”) from his friend’s PC
 media system       or laptop through a network connection (“communication network”). To communicate through voice chat, both the
 including      a   player and his friend need to log in (“security measure”) to the Call of Duty account.
 security
 measure,
 comprising:




                    Source: https://www.callofduty.com/



                                                                                                                                            2
               Case 2:24-cv-00043-JRG-RSP Document 1-2 Filed 01/24/24 Page 3 of 54 PageID #: 23

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                  Source: https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




                                                                                                                                         3
               Case 2:24-cv-00043-JRG-RSP Document 1-2 Filed 01/24/24 Page 4 of 54 PageID #: 24

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                                                                                                  click on
                                                                                                  social




                                                                                                   media system




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:30 (annotated)




                                                                                                                  4
               Case 2:24-cv-00043-JRG-RSP Document 1-2 Filed 01/24/24 Page 5 of 54 PageID #: 25

Exhibit B to the Complaint




                                        media system
                                        click on add
                                        friends




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:33 (annotated)




                                                                                            player enter
                                                                                            friend’s Activision
                                                                                            ID and custom
                                                                                            message to send
                                                                                            friend request




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:36 (annotated)

                                                                                                                  5
               Case 2:24-cv-00043-JRG-RSP Document 1-2 Filed 01/24/24 Page 6 of 54 PageID #: 26

Exhibit B to the Complaint




                                                                                            media system




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




                                                                                                           6
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Exhibit B to the Complaint




                                                                                                  media file




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




                                                                                                               7
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Exhibit B to the Complaint




                                                                                                 wireless mobile
                                                                                                 device transfers
                                                                                                 media file



                                                                                            media
                                                                                            system



                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)




                                                                                                                    8
               Case 2:24-cv-00043-JRG-RSP Document 1-2 Filed 01/24/24 Page 9 of 54 PageID #: 29

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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                                                     security
                                                     measure of
                                                     media system




                  Source:
                  https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                  (annotated)

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.

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 [22.1]              Company performs and/or induces others to perform the step of disposing the media system in an accessible relation
 disposing the       to at least one interactive computer network that has a wireless range structured to permit authorized access to said at
 media system        least one interactive computer network, wherein the wireless mobile device within said wireless range, wherein said
 in an accessible    wireless mobile device is detectable by said media system.
 relation to at
 least        one    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 interactive
 computer            For example, Call of Duty: Modern Warfare is accessible on both PC and laptop, with the game installed on the player's
 network that        PC or laptop (“media system”). Players engage in communication with their friends through the Voice Chat feature.
 has a wireless      When a player utilizes Voice Chat, their voice chats are transmitted from their PC or laptop to the friend’s PC or laptop
 range               via a wireless internet connection (“interactive computer network”). Given that players need to connect to a wireless
 structured to       internet connection for both playing the game and engaging in voice chat communication, it is apparent that the player's
 permit              PC or laptop maintains an accessible relationship with the interactive computer network.
 authorized
 access to said      Further, the player logs in to the router by entering its login credentials (“authorized access”) on its PC or laptop for
 at least one        establishing a wireless internet connection (“interactive computer network”). As wireless routers inherently possess a
 interactive         specified range, therefore, it is apparent to a person having ordinary skill in the art that a wireless range is structured to
 computer            permit authorized access to at least one interactive computer network.
 network,
 wherein the         Furthermore, the player adds his friends to his friend list so that he can communicate with them through voice chat.
 wireless            Subsequently, during gameplay, the friend’s PC or laptop (“wireless mobile device”) transmits voice chats to the
 mobile device       player’s PC or laptop (“media system”) through the established wireless internet connection. Given that wireless routers
 within       said   have a defined range and the player's PC or laptop connects to it before initiating an internet connection, it follows that
 wireless range,     the player's PC or laptop communicates with its friend’s PC or laptop. Therefore, upon information and belief, the
 wherein said        friend’s PC or laptop is disposed within said wireless range and it is detectable by the player’s PC or laptop.
 wireless
 mobile device
 is detectable by
 said
 media system,




                                                                                                                                                  11
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Exhibit B to the Complaint




                                                                                                   click on
                                                                                                   social




                                                                                                    media system




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:30 (annotated)




                                                                                                                   12
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Exhibit B to the Complaint




                                        player click on
                                        add friends




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:33 (annotated)




                                                                                            player enter
                                                                                            friend’s Activision
                                                                                            ID and custom
                                                                                            message to send
                                                                                            friend request




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:36 (annotated)

                                                                                                                  13
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                  Source: https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii




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                                                                                                                          interactive
                                                                                                                          computer
                                                                                                                          network



                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii (annotated)




                                                                                                                                        15
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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17




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                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [22.2] initially Company performs and/or induces others to perform the step of initially disposing at least one digital media file on the
 disposing      at wireless mobile device, said media system being structured to detect said wireless mobile device disposed within said
 least one digital wireless range.
 media file on
 the               This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 wireless
 mobile device, For example, both player’s PC or laptop and his friend’s PC or laptop communicate with each other using voice chat.
 said      media The friend’s PC or laptop ("wireless mobile device") records (“initially disposed”) the voice chats (“digital media file”).
 system being Therefore, it would be apparent to a person having ordinary skill in the art that the player’s PC or laptop (“media
 structured to system”) is structured to detect its friend’s PC or laptop (“wireless mobile device”). Since, both player and his friend’s
 detect      said PC or laptop devices are connected to the wireless router having a defined range therefore, upon information and belief,
 wireless          the friend’s PC or laptop is disposed within said wireless range.
 mobile device
 disposed
 within      said
 wireless range,




                                                                                                                        digital
                                                                                                                        media file



                                                                                                                 media system




                   Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)

                                                                                                                                           17
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                  Source: https://support.activision.com/articles/call-of-duty-voice-chat-moderation




                  Source: https://gamerant.com/call-of-duty-modern-warfare-3-ai-voice-chat-moderation/




                                                                                                         18
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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




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                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




                                                                                                                                     20
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                                                                                                   click on
                                                                                                   social




                                                                                                    media system




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:30 (annotated)




                                                                                                                   21
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                                        player click on
                                        add friends




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:33 (annotated)




                                                                                            player enter
                                                                                            friend’s Activision
                                                                                            ID and custom
                                                                                            message to send
                                                                                            friend request




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:36 (annotated)

                                                                                                                  22
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                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [22.3]            Company performs and/or induces others to perform the step of structuring a communication link to dispose said media
 structuring a system and said wireless mobile device in a communicative relation with one another via said at least one interactive
 communication computer network.
 link to dispose
 said media        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 system and said
 wireless          For example, once connected to the wireless internet, the player initiates the login process to their Activision account
 mobile device using their PC or laptop (“media system”). This involves entering login credentials such as email and password through
 in              a the wireless internet connection (“one interactive computer network”). Further, the player adds his friend so that he can
 communicat-       communicate with them through voice chat. Consequently, this procedure establishes a communication channel
 ive      relation (“structuring a communication link”) between the player's PC or laptop and the friend’s PC or laptop (“wireless mobile
 with         one device”).
 another via said
 at least one
 interactive
 computer
 network,




                                                                                                                                           23
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                                                 player login to
                                                 player’s
                                                 platform




                  Source:
                  https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                  (annotated)




                                                                                                                       24
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                                                                                            media system




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




                                                                                                           25
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                                                                                                   wireless
                                                                                                   mobile
                                                                                                   device
                                                                                                   sends media
                                                                                                   file




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




                                                                                                             26
               Case 2:24-cv-00043-JRG-RSP Document 1-2 Filed 01/24/24 Page 27 of 54 PageID #: 47

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                                                                                                                  wireless mobile
                                                                                                                  device sends
                                                                                                                  media file



                                                                                                            media system




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




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                  Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                  (annotated)




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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [22.4] initiating Company performs and/or induces others to perform the step of initiating said communication link by said media
 said              system.
 communication
 link by said This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media system,
                   For example, the player adds its friend so that he can communicate with them through voice chat. Consequently, this
                   procedure establishes a communication channel between the player's PC or laptop and the friend’s PC or laptop
                   (“initiating said communication link by said media system”).



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                                                 player login to
                                                 player’s
                                                 platform




                  Source:
                  https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                  (annotated)




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               Case 2:24-cv-00043-JRG-RSP Document 1-2 Filed 01/24/24 Page 31 of 54 PageID #: 51

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                                                                                                   click on
                                                                                                   social




                                                                                                    media system




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:30 (annotated)




                                                                                                                   31
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                                        player click on
                                        add friends




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:33 (annotated)




                                                                                            player enter
                                                                                            friend’s Activision
                                                                                            ID to add friend




                  Source: https://www.youtube.com/watch?v=3-6htQc3-bQ at 0:36 (annotated)

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                                                                                                                  media file




                                                                                                            media system




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)




                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




                                                                                                                                     33
               Case 2:24-cv-00043-JRG-RSP Document 1-2 Filed 01/24/24 Page 34 of 54 PageID #: 54

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                   Source:     https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii
                   (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [22.5]            Company performs and/or induces others to perform the step of transmitting by said wireless mobile device to the
 transmitting by media system said at least one digital media file therebetween via said communication link.
 said wireless
 mobile device This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 to the media
 system said at For example, both the player and his friend communicate with each other using voice chat during gameplay. The
 least one digital friend’s PC or laptop ("wireless mobile device") sends the voice chat (“digital media file”) to the player’s PC or laptop
 media        file (“media system”).
 therebetween
 via         said
 communication
 link, and




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                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




                                                                                                                         digital
                                                                                                                         media file




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)


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                                                                                                          wireless mobile
                                                                                                          device


                                                                                                         digital
                                                                                                         media file



                                                                                                            media system




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)




                  Source: https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii


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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
 [22.6] wherein Company performs and/or induces others to perform the step of wherein said communication link is structured to bypass
 said             the security measure of the media system for a limited permissible use of the communication link by the wireless mobile
 communication device for only transferring the at least one digital media file to, and displaying the at least one digital media file on,
 link          is the media system.
 structured to
 bypass           This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 the     security
 measure of the For example, the player’s PC or laptop ("media system") and the friend’s PC or laptop initially requires to enter login
                  credentials such as username and a password ("security measure") for login into Activision server. The server does not

                                                                                                                                         37
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 media system        require both player and his friend to input the email and password ("security measure") every time they communicate.
 for a limited       Instead, the email and password input are necessary during the initial connection process, and thereafter, both player
 permissible use     and his friend’s PC or laptop automatically exchanges data without requiring users to re-enter the email and password
 of            the   ("bypass at least one media terminal security measure"). Therefore, upon information and belief, the communication
 communication       link is structured to bypass at least one media terminal security measure. Furthermore, the friend’s PC or laptop utilizes
 link by the wire    the communication channel exclusively for transmitting the voice chats to the player’s PC or laptop (“bypass the
 less      mobile    security measure of the media system for a limited permissible use of the communication link by the wireless mobile
 device for only     device for only transferring the at least one digital media file”).
 transferring the
 at least one
 digital media
 file to, and
 displaying the
 at least one
 digital media
 file on, the
 media system.




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                                                 security
                                                 measure of
                                                 media system




                  Source:
                  https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                  (annotated)




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                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




                                                                                                            media system




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




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                                                                                                   digital
                                                                                                   media file




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




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                                                                                                              wireless mobile
                                                                                                              device
                                                                                                                      digital media file
                                                                                                                      transfers and
                                                                                                                      displays on the
                                                                                                                      media system


                                                                                                                media
                                                                                                                system



                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [24]         The Company performs and/or induces others to perform the step of transmission of the at least one digital media file from
 method         of the wireless mobile device to the media system completely bypasses the security measure.
 claim        22,
 wherein       the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 transmission of
 the at least one For example, the player’s PC or laptop ("media system") and the friend’s PC or laptop (“wireless mobile device”) are
 digital media not required to input the email and password ("security measure") every time they communicate. Instead, the email and
 file from the password input are necessary during the initial connection process, and thereafter, the platforms automatically exchange
 wireless          data without requiring users to re-enter the email and password. The friend’s PC or laptop transmits the voice chats to
 mobile            the player’s PC or laptop (“bypass the security measure”). Therefore, upon information and belief, the channel created
 device to the between the player’s PC or laptop and the friend’s PC or laptop bypass the security measure.
 media system

                                                                                                                                           42
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 completely
 bypasses the
 security
 measure.




                                                 security
                                                 measure of
                                                 media system




                  Source:
                  https://profile.callofduty.com/cod/login?redirectUrl=https%3A%2F%2Fwww.callofduty.com%2F&promo=jpt
                  (annotated)




                                                                                                                       43
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                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




                                                                                                            media system




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




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                                                                                                   digital
                                                                                                   media file




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




                                                                                                                45
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                                                                                                              wireless mobile
                                                                                                              device
                                                                                                                       digital media file
                                                                                                                       transfers to the
                                                                                                                       media system



                                                                                                                media
                                                                                                                system



                   Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
 [27]        The Company performs and/or induces others to perform the step of the communication link is at least one of a peer-to-
 method        of peer connection, bluetooth connection, and a WiFi connection.
 claim        22,
 wherein      the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 communication
 link is at least For example, the friend’s PC or laptop transmits the voice chats to the player’s PC or laptop using the wireless internet
 one of a peer- connection (“WiFi connection”).
 to-peer
 connection,
 bluetooth
 connection,



                                                                                                                                            46
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 and a WiFi
 connection.




                  Source: https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii




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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii




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                  Source: https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
 [29]       The Company performs and/or induces others to perform the step of presenting the at least one digital media file on a
 method      of display.
 claim      22,
 further        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 comprising
 presenting the For example, the player’s PC or laptop plays and displays (“presenting”) the received voice chats (“digital media file”).
 at least one
 digital media
 file    on   a
 display.


                                                                                                                     presenting the at
                                                                                                                     least one digital
                                                                                                                     media file on the
                                                                                                                     media system




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)




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                  Source: https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [30]        The Company performs and/or induces others to perform the step of at least one digital media file is provided by the wireless
 method         of mobile device.
 claim        22,
 wherein the at This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least one digital
 media file is For example, the friend’s PC or laptop (“wireless mobile device") transmits the voice chats (“at least one digital media
 provided by the file”) to the player’s PC or laptop.
 wireless
 mobile device.




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                  Source:       https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-
                  started-guide




                                                                                                            wireless mobile
                                                                                                            device




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:17 (annotated)




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                                                                                                   digital
                                                                                                   media file




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 0:30 (annotated)




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                                                                                                                    wireless mobile
                                                                                                                    device transfers
                                                                                                                    digital media file




                  Source: https://www.youtube.com/watch?v=FQNQUfAFVuE at 1:26 (annotated)

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.




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   2. List of References
       1. https://www.callofduty.com/, last accessed on December 22, 2023.
       2. https://support.activision.com/modern-warfare-iii/articles/pc-system-requirements-for-modern-warfare-iii, last accessed on
          December 22, 2023.
       3. https://support.activision.com/modern-warfare-iii/articles/connecting-to-modern-warfare-iii, last accessed on December 22,
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       4. https://www.callofduty.com/guides/getting-started/call-of-duty-modern-warfare-iii-play-guides-getting-started-guide,    last
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          on December 22, 2023.
       7. https://www.youtube.com/watch?v=FQNQUfAFVuE, last accessed on December 22, 2023.




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